      Case 1:25-cv-00352-CJN           Document 25   Filed 02/11/25   Page 1 of 36




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


American Foreign Service Association, et al.,

       Plaintiffs,

                                                     Case No. 1:25-cv-00352

       v.



President Donald J. Trump, et al.,

       Defendants.




               REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                   MOTION FOR PRELIMINARY INJUNCTION




                                     TABLE OF CONTENTS
          Case 1:25-cv-00352-CJN                       Document 25                Filed 02/11/25              Page 2 of 36




INTRODUCTION ...........................................................................................................................1

BACKGROUND .............................................................................................................................1

ARGUMENT ...................................................................................................................................4

    I. PLAINTIFFS HAVE STANDING TO CHALLENGE DEFENDANTS’ UNLAWFUL
         DISSOLUTION OF USAID. ............................................................................................... 4

    II. PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS....................................... 6
         A. This Court has jurisdiction over Plaintiff’s claims, which do not challenge individual
              personnel actions. ........................................................................................................... 6
         B. The President and other Defendants violated the Constitution by unilaterally shutting
              down an agency created by Congress........................................................................... 10
         C. Agency Defendants’ decision to shut down USAID is arbitrary, capricious, an abuse of
              discretion, or otherwise not in accordance with law. ................................................... 16

    III. WITHOUT A TEMPORARY RESTRAINING ORDER, PLAINTIFFS, THEIR
         MEMBERS, AND COUNTLESS OTHERS WILL BE IRREPARABLY HARMED. .... 23

    IV. THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST WEIGH IN
         PLAINTIFFS’ FAVOR. ..................................................................................................... 26

CONCLUSION ..............................................................................................................................28




                                                                     ii
          Case 1:25-cv-00352-CJN                          Document 25                 Filed 02/11/25               Page 3 of 36




                                                  TABLE OF AUTHORITIES

           Cases

Am. Fed. of Govt. Emps., AFL-CIO v. Trump, 929 F.3d 748 (D.C. Cir. 2019) ................. 9

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   2018) ............................................................................................................................ 14

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   Fla. May 4, 2022) ......................................................................................................... 14

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                                                                        iii
          Case 1:25-cv-00352-CJN                          Document 25                Filed 02/11/25               Page 4 of 36




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  2016) ............................................................................................................................ 26

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  2014) ............................................................................................................................ 19

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                                                                       iv
          Case 1:25-cv-00352-CJN                          Document 25                 Filed 02/11/25               Page 5 of 36




Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d
   726 (D.C. Cir. 2003) .................................................................................................... 20

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tates v. Newby, 838 F.3d 1, 75 (D.C. Cir. 2016) ......................................................... 24, 26

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  concurring) ....................................................................................................... 11, 12, 13

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22 U.S.C. § 6563 ..................................................................................................... 1, 11, 20

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                                                                        v
          Case 1:25-cv-00352-CJN                        Document 25                Filed 02/11/25               Page 6 of 36




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  https://tinyurl.com/3bj8m5az ........................................................................... 2, 3, 4, 18

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                                                                      vi
       Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 7 of 36




                                        INTRODUCTION

       Defendants have—over the course of mere weeks—eviscerated an entire federal agency,

in contravention of the Constitution and federal law. They have done so methodically. First, they

froze federal foreign assistance and issued stop work orders to contractors and grantees, hobbling

USAID’s partner organizations that perform work for the agency across the world. Next, they

abruptly put thousands of employees on administrative leave, cutting off access to their computer

systems and leaving them vulnerable to security threats abroad.

       Even in the handful of days since the parties were last before the Court, Defendants have

escalated their shutdown efforts. Defendants’ intent to rapidly and irreversibly dismantle the

agency, absent Congressional authorization, and without the opportunity for this Court to

adjudicate the lawfulness of their actions on the merits, is apparent. Indeed, they have said it

themselves: “CLOSE IT DOWN!”1 These actions contravene the Constitution and statutes

circumscribing Defendants’ authority, cause irreparable harm to Plaintiffs and their members,

and significantly impair the public interest. The Court should grant a preliminary injunction.2

                                         BACKGROUND

       USAID was created in 1961 by President John F. Kennedy. Congress later codified

USAID in statute in the Foreign Affairs Reform and Restructuring Act of 1998 as an

independent agency outside the Department of State.3 And President Clinton confirmed later that




1
  @realDonaldTrump, Truth Social (Feb. 7, 2025, 9:31 AM ET),
https://truthsocial.com/@realDonaldTrump/posts/113963085497636545.
2
  On February 7, 2025, Plaintiffs filed an application for a temporary restraining order. ECF No.
9. The Court’s Order of February 7, 2025, granted in part the TRO and converted Plaintiff’s
application into a motion for preliminary injunction. ECF No. 15 at 7.
3
  “[T]here is within the Executive branch of Government the United States Agency for
International Development.” 22 U.S.C. § 6563.
                                                  1
       Case 1:25-cv-00352-CJN          Document 25       Filed 02/11/25      Page 8 of 36




“USAID will remain a distinct agency with a separate appropriation.”4 Since the Foreign Affairs

Reform and Restructuring Act of 1998, Congress has repeatedly appropriated funds for USAID

as an independent agency, including in the recent Further Consolidated Appropriations Act, 2024

(“Appropriations Act”).5

       Defendants now seek to dismantle the agency, without Congressional authorization, in

violation of the Constitution and federal statutes, through placing both direct hire employees and

personal services contractors (PSCs) on administrative leave en masse, shuttering offices,

freezing funding, and terminating grants and contracts.6 Despite Deputy Administrator

Marocco’s suggestion that the agency had implemented Secretary Rubio’s waiver for “life-

saving humanitarian assistance programs,” USAID workers report that the uncertainties as to the

scope of the waivers, coupled with the slashing of staffing and blocking of access to programs,

has made these theoretical waiver programs close to useless.7

       At 9:31 am on Friday, February 7, Defendant Trump posted on Truth Social, with respect

to USAID: “CLOSE IT DOWN!”8 Later on Friday, USAID signage was removed from its D.C.




4
  Reorganization Plan and Report Submitted by President Clinton to the Congress on December
30, 1998, Pursuant to Section 1601 of the Foreign Affairs Reform and Restructuring Act of 1998,
as Contained in Pub. L. 105-277, https://tinyurl.com/48kthcr8.
5
  Pub. L. 118-47 § 7063(a), 138 Stat. 460 (2024).
6
  See Complaint, ECF No. 1; Notice of Correction (Feb. 10, 2025), ECF No. 21; Decls. of
Thomasina, Ulysses, Walter, and Xavier.
7
  See, e.g., U.S. Agency for Int’l Dev., Off. of Inspector Gen., Oversight of USAID-Funded
Humanitarian Assistance Programming Impacted by Staffing Reductions and Pause on Foreign
Assistance (Feb. 10, 2025), https://tinyurl.com/3bj8m5az, at 1–3 (hereinafter “USAID OIG
Report”).
8
  Donald Trump (@realDonaldTrump), Truth Social, supra note 1.
                                                2
       Case 1:25-cv-00352-CJN          Document 25       Filed 02/11/25      Page 9 of 36




headquarters9 while other signage referencing the agency was covered with black duct tape.10

White House representatives reported the building’s lease would be taken over by Customs and

Border Protection.11 USAID employees received communications on Sunday, February 9,

providing notice that “the former USAID headquarters” were closed until further notice.12

Employees who reported to work were turned away.13

       Meanwhile, Defendants have continued to terminate contracts at a breakneck speed. A

reported 800 contracts have been terminated,14 with procurement teams reportedly subject to

hourly checks on the speed of executing on these terminations.15

       Yesterday, the USAID Office of the Inspector General issued a report detailing how

Defendants’ actions have wasted taxpayer dollars and imperiled the safety and security of

Americans. Among other examples, the Inspector General describes that USAID staff who

engage in “partner vetting”—a “risk-mitigation tool” aimed at “ensur[ing] that American

taxpayer funds do not benefit terrorists and their supporters”—have been told not to report to

work because they have been furloughed or placed on administrative leave.16 The Inspector




9
  DOGE (@DOGE), X (Feb. 7, 2025, 3:19 PM ET),
https://x.com/DOGE/status/1887959408555995416.
10
   Laura Barrón-López (@lbarronlopez), X (Feb. 7, 20205, 1:04 PM ET),
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https://bsky.app/profile/agawande.bsky.social/post/3lhtdubyjv22j.
16
   USAID OIG Report at 3–4.
                                                3
       Case 1:25-cv-00352-CJN           Document 25         Filed 02/11/25      Page 10 of 36




General concluded that “[t]his gap leaves USAID susceptible to inadvertently funding entities or

salaries of individuals associated with U.S.-designated terrorist organizations” such as Hamas,

Hezbollah, ISIS, and Ansar Allah.17 The Inspector General also wrote that USAID had nearly a

half-billion dollars’ worth of emergency food aid positioned in ports, transit, and warehouses at

the time Defendants began to dismantle the agency.18 Because USAID implementers faced

“conflicting instructions” from Defendants, and USAID staff were muzzled from “providing

clarifying guidance” to those implementing partners, that food is now “at risk of spoilage,

unanticipated storage needs, and diversion.”19

                                             ARGUMENT

         I. PLAINTIFFS HAVE STANDING TO CHALLENGE DEFENDANTS’
               UNLAWFUL DISSOLUTION OF USAID.

         Defendants assert that Plaintiffs lack standing for the relief they seek. Defs. Resp. Br. at

19 (Feb. 10, 2025), ECF No. 20. But this Court should start with what Defendants do not contest:

Plaintiffs’ numerous allegations of impending irreparable injury to their members and

themselves stemming from the administrative leave and expedited evacuation orders. Those

injuries include looming threats to physical safety, Mem. Supp. TRO (“TRO Brief”) at 20, 22

(Feb. 7, 2025), ECF No. 9-1; Decl. of Marcus Doe ¶ 10–11; Decl. of Olivia Doe ¶ 4; disruption

to the education of their children, ECF No. 9-1. at 18–10; Decl. of Olivia Doe ¶¶ 4, 6; the loss of

employment under extraordinary circumstances, ECF No. 9-1 at 18–20; loss of employment’s

accompanying benefits, such as homes, health insurance, and pensions, ECF No. 9-1 at 20; Decl.

of Marcus Doe ¶¶ 18, 22; Decl. of Sarah Doe ¶¶ 5, 8; Decl. of Wanda Doe ¶¶ 4–5, 7; loss of



17
   Id. at 4.
18
   Id. at 3.
19
   Id.
                                                   4
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 11 of 36




familial income as whole families are repatriated, see ECF No. 9-1 at 19; Decl. of Olivia Doe ¶

7; Decl. of Ruth Doe ¶ 5; Decl. of Sarah Doe ¶ 10; Decl. of Wanda Doe ¶ 7; loss of property,

Decl. of Marcus Doe ¶¶ 10–11, 22–23; Decl. of Nancy Doe ¶ 6; Decl. of Nathan Doe ¶¶ 4–6;

Decl. of Olivia Doe ¶ 8; Decl. of Ruth Doe ¶ 4; Decl. of Wanda Doe ¶ 7; and, for the Unions,

loss of members and drained resources, ECF No. 9-1 at 21. These are textbook Article III

injuries that are sufficient for standing on Plaintiffs’ administrative leave and expedited

evacuation claims. See ECF No. 15 at 3–4. The Court thus need go no further to reject

Defendants’ standing argument.20

       Nonetheless, Defendants, seeking to divide Plaintiffs’ claim of unlawful dissolution of a

statutorily authorized agency into smaller pieces, argue that Plaintiffs lack standing to challenge

the freezing of USAID funds. See Defs. Resp. Br. at 21, 22 (Feb. 10, 2025), ECF No. 20.

Plaintiffs’ members, however, are injured by the funding freeze as they have not been, and will

not be, reimbursed for their work expenses. Decl. of Jane Doe ¶ 21, ECF No. 9-10; Decl. of Carol

Doe ¶ 6, ECF No. 9-12; Decl. of Marcus Doe ¶ 24; Decl. of Nancy Doe ¶ 6; Decl. of Olivia Doe ¶

8; Decl. of Ruth Doe ¶ 5; see Carpenters Indus. Council v. Zinke, 854 F.3d 1, 5 (D.C. Cir. 2017)




20
   To the extent Defendants purport to address concerns as to the Unions’ Article III standing,
they do so only in the context of the “pause in funding.” Defs. Resp. Br. at 21. But Plaintiffs can
demonstrate that Defendants’ conduct has “perceptibly impaired” their ability to provide
services, Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 919 (D.C. Cir. 2015), and that they
have exerted abnormal resources to counteract the resulting harm, id. at 920 (citations omitted).
AFGE stands to lose hundreds of members if the workforce reductions occur and will be
required to divert significant resources to address the needs of its USAID employee members.
TRO Brief at 21, ECF No. 9-1 (Feb. 7, 2025). AFSA has submitted a new declaration stating that
it has already expended time and money addressing the crisis at USAID instead of on other union
matters, all to the detriment of its thousands of other workers. Further Decl. of R. Chester, ¶¶ 21–
24. Plaintiffs are not “spending [their] way” into standing, Defs. Resp. Br. at 22 (internal
quotation marks and citations omitted); they are exhausting resources to combat the harms they
and their members face as USAID dissolves.
                                                  5
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 12 of 36




(noting that a “dollar of economic harm is still an injury-in-fact for standing purposes” (citations

omitted)). The funding freeze has also affected policies around pregnancy-related medevacs,

causing emotional harm and, in at least one case, life-threatening medical complications. Decl. of

Vanessa Doe ¶¶ 5-7. There is “little question” that concerns about the financial well-being of their

members are germane to the Unions’ purposes. Int’l Union, United Auto., Aerospace & Agr.

Implement Workers of Am. v. Brock, 477 U.S. 274, 286 (1986). And no individual participation is

required in this lawsuit. United Food & Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517

U.S. 544, 546 (1996).

       II. PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.

               A. This Court has jurisdiction over Plaintiff’s claims, which do not challenge
                   individual personnel actions.

       Defendants attempt to shoehorn this case into three different statutory schemes created to

resolve federal workers’ personnel disputes. But none of these shoes fit. Plaintiffs’ claims, which

challenge a sweeping scheme to dismantle an entire agency, fall outside these specialized

statutory frameworks, all of which focus on individualized employment matters. Moreover,

relegating Plaintiffs’ claims to these slow-moving administrative processes would deprive them

of meaningful judicial review where the agency that currently employs their members will,

without swift court intervention, soon cease to exist. And neither the Federal Labor Relations

Authority (“FLRA”), the Merit Systems Protection Board (“MSPB”), nor the Foreign Service

Grievance Board (“FSGB”) have the capacity or expertise to handle the Constitutional claims of

USAID’s entire multi-thousand-person workforce simultaneously—nor would many members of

that workforce even be able to avail themselves of those agencies’ protections. For all of these

reasons, Defendants’ channeling arguments fail.


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      Case 1:25-cv-00352-CJN           Document 25         Filed 02/11/25      Page 13 of 36




                   1. None of the statutory schemes invoked by Defendants apply to Plaintiffs’
                       claims.

       In light of the “strong presumption favoring judicial review,” Defendants bear a “heavy

burden” of showing that any of the statutes they invoke—the Federal Service Labor–

Management Relations Statute, the Civil Service Reform Act, or the Foreign Service Act—

foreclose judicial review. See, e.g., Salinas v. United States R.R. Ret. Bd., 592 U.S. 188, 196

(2021) (citing Mach Mining, LLC v. EEOC, 575 U.S. 480, 486 (2015)); Thunder Basin Coal Co.

v. Reich, 510 U.S. 200, 207, 212 (1998) (stating that preclusive intent must be “fairly

discernible” from the statutory scheme, and the claims at issue must be “of the type Congress

intended to be reviewed”). Here, while the FSLMRS, MSPB, and FSGB all supplant federal-

court jurisdiction in the fields they occupy, Plaintiffs’ claims fall outside those fields. See Axon

Enter., Inc. v. Fed. Trade Comm., 598 U.S. 175, 186 (2023) (“The ultimate question is how best

to understand what Congress has done—whether the statutory review scheme, though exclusive

where it applies, reaches the claim in question.”).

       The FSLMRS provides a scheme for resolving disputes between labor unions and the

federal agencies with whom they have collectively bargained. But that scheme does not apply to

most of the defendants here, who did not bargain with either plaintiff union. The only defendant

that did so bargain, USAID itself, will, if Defendants’ scheme succeeds, not exist as an

independent entity for much longer, thus bringing this dispute outside the FLRA’s jurisdiction.

       The CSRA likewise does not apply here for two reasons. First, AFSA and AFGE

challenge Defendants’ actions for causing them organizational harm separate from any adverse

personnel actions that have been taken or will be taken against individual union members. Decl.

of Ottis Johnson, Jr., ¶¶ 6-8, ECF No. 9-3; Further Decl. of R. Chester ¶¶ 21–25 (describing

injuries to AFSA). Second, Plaintiffs’ complaint alleges violation of the separation of powers
                                                  7
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25     Page 14 of 36




doctrine and that Defendants, including the president, have exceeded their authority. These

constitutional claims fall outside of the MSPB’s province. See, e.g., Lamb v. Holder, 82 F. Supp.

3d 416, 423 (D.D.C. 2015) (collecting cases recognizing that constitutional claims by federal

workers could be heard in federal court notwithstanding the CSRA). And the types of harms

Plaintiffs’ members are suffering and risk in the future as a result of Defendants’ actions—

threats to their physical safety, family instability and developmental setbacks for children due to

a hasty forced evacuation, and disruptions to pregnancy-related medevacs due to a chaotic

funding freeze—are not employment-related harms that the MSPB can remedy.

       Moreover, it is not “fairly discernable,” to put it mildly, that Congress intended the

wholescale elimination of an agency to be addressed by the FSGB. That board’s “fundamental

grievance procedures” are well suited to individualized labor and employment actions. See

Thompson v. Pope, 397 F. Supp. 2d 28, 34 (D.D.C. 2005) (addressing employer’s investigation

into an individual’s private life); Hunter v. United States, 36 Fed. Cl. 257, 259 (1996)

(challenging individual’s entitlement to participation in a career program, in turn affecting

pension rights). Here, where mass placements on administrative leave are but one tool in a larger

campaign to unilaterally restructure USAID, the FSGB’s individualized grievance procedures are

not implicated.

       Because none of these administrative schemes apply to Plaintiffs’ claims, the Thunder

Basin analysis can end there. See Feds for Med. Freedom v. Biden, 63 F.4th 366, 379 (5th Cir.),

judgment vacated as moot, 144 S. Ct. 480 (2023). But should this Court consider the second step

of Thunder Basin, that analysis too supports federal-court jurisdiction.

                   2. Only this Court can provide meaningful review, and the agencies lack
                       the capacity or expertise to handle claims on such a large scale.



                                                 8
      Case 1:25-cv-00352-CJN            Document 25        Filed 02/11/25      Page 15 of 36




       Even when an administrative review scheme applies to a given claim and would

ordinarily strip a federal court of jurisdiction, the court may choose to exercise jurisdiction

anyway if 1) “a finding of preclusion could foreclose all meaningful judicial review”; (2) the

claim is wholly collateral to the statutory review provisions; and (3) the “claim[] [is] beyond the

expertise of the agency.” Arch Coal, Inc. v. Acosta, 888 F.3d 493, 500 (D.C. Cir. 2018). Here, all

three of these factors weigh in favor of federal jurisdiction, with the first factor doing so most

strongly.

       Some of the statutory schemes Defendants cite eventually allow for judicial review, such

as the MSPB, which allows for appeal to the Federal Circuit. But by the time Plaintiffs’ claims

wind their way through the administrative process to reach a federal appeals court, even if their

claim were successful, there would likely be no agency left to reinstate them. This situation does

not present a mere choice between a preferred pre-enforcement challenge or mounting the same

challenge later “in the context of concrete bargaining disputes.” Am. Fed. of Govt. Emps., AFL-

CIO v. Trump, 929 F.3d 748, 759 (D.C. Cir. 2019). Here, by contrast, only a limited time

window exists in which these actions can be challenged at all, and the administrative forums

cannot act with the needed dispatch. Only this Court can provide the relief Plaintiffs seek: halting

the dissolution of USAID before it becomes irreversible.

       Second, Plaintiffs’ claims are wholly collateral to the applicable statutory review

provisions. As the D.C. Circuit has explained, a claim is not collateral if it “serve[s] as the

‘vehicle by which [the plaintiffs] seek[] to reverse’ the adverse employment action.” Payne v.

Biden, 62 F.4th 598, 606 (D.C. Cir. 2023) (quoting Jarkesy v. SEC, 802 F.3d 9, 23 (D.C. Cir.

2015)). Unlike in Payne, where the plaintiff challenged the lawfulness of the vaccine mandate

because of its impact on his continued employment, here Plaintiffs would be harmed by



                                                  9
      Case 1:25-cv-00352-CJN          Document 25        Filed 02/11/25     Page 16 of 36




Defendants’ illegal actions in moving to shut down USAID, even if these actions had no effect

on their employment.21 Thus, the claims are collateral to the agencies’ review procedures.

       Finally, the agencies have no particular expertise that makes them better able to handle

the claims at issue than this Court would be. If anything, the individualized nature of proceedings

before these administrative forums make them a particularly poor fit for the sort of mass action

taking place here, which affects virtually the entire USAID workforce. And the agencies have no

jurisdiction whatsoever over large swaths of that workforce—the personal services contractors

(PSCs), who are identically situated to direct hires in the harms they face from Defendants’

actions but who lack FLRA, MSPB or FSGB protections. See Further Decl. of Jane Doe ¶¶ 3–6.

In short, this Court is the only forum that can provide meaningful relief to all those employed by

USAID.

               B. The President and other Defendants violated the Constitution by

                   unilaterally shutting down an agency created by Congress.

                   1. Defendants’ actions are ultra vires.

       Congress, acting under its sole authority to appropriate funds under Article I of the

Constitution, created USAID as an independent agency under the Foreign Service Reform and

Restructuring Act of 1998 (“FSRRA”). 22 U.S.C. § 6563. President Trump, citing his Article II

powers over foreign affairs, claims that he can shutter USAID, effectively striking provisions of

FSRRA and subsequent appropriations acts. See Defs. Resp. Br. at 23 (claiming to act under




21
  Indeed, Mr. Marocco tacitly acknowledges the distinction between individualized
determinations to place employees on leave and the mass leave placement Defendants
effectuated here; he singled out four employees that USAID placed on leave on February 9–
while the TRO was in place–pending inquiry into employee misconduct. Decl. of Peter Marocco,
¶ 20 (Feb. 10, 2025), ECF No. 20-1.
                                                10
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 17 of 36




“vast and generally unreviewable” powers under Article II). A “Presidential claim to a power at

once so conclusive and preclusive must be scrutinized with caution, for what is at stake is the

equilibrium established by our constitutional system.” Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579, 638 (1952) (Jackson, J., concurring). Defendants’ actions here do not survive this

scrutiny.

       Defendants’ attempts to shut down USAID are ultra vires. “There is no provision in the

Constitution that authorizes the President to enact, to amend, or to repeal statutes” like the

FSRRA. Clinton v. City of New York, 524 U.S. 417, 438 (1998); see also INS v. Chadha, 462

U.S. 919, 954 (1983) (the “repeal of statutes, no less than enactment, must conform with Art. I”).

Only Congress can do so. “As Madison explained in The Federalist No. 47, under our

constitutional system of checks and balances, ‘[t]he magistrate in whom the whole executive

power resides cannot of himself make a law.’” Medellin v. Texas, 552 U.S. 491, 528 (2008)

(alteration in original). Holding otherwise “would be clothing the President with a power to

control the legislation of congress.” Kendall v. U.S. ex rel. Stokes, 37 U.S. (12 Pet.) 524, 613

(1838); see also Marin Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th 902, 908–09 (D.C.

Cir. 2024) (striking down regulations issued by an executive body that did not have

Congressionally granted legislative authority).

       Moreover, Defendants have no statutory basis for their actions. Neither the FSRRA nor

any other federal statute gives the Defendants the authority to unilaterally shrink USAID. See

infra pages 19-21. To the contrary: Congress considered whether to give the President this

authority and did grant that authority for a limited window of time, which has long closed. See

22 U.S.C. § 6601 (granting the President a 60-day window to choose to absorb USAID into the

Department of State). Where Congress considered granting the President authority to shutter an



                                                  11
      Case 1:25-cv-00352-CJN           Document 25         Filed 02/11/25      Page 18 of 36




agency and chose not to, as is the case here with the FSRRA, the President is presumed to not

have that authority under statute. See Christensen v. Harris Cnty., 529 U.S. 576, 583 (2000)

(noting the “canon” that “‘[w]hen a statute limits a thing to be done in a particular mode, it

includes a negative of any other mode’” (alteration in original) (quoting Raleigh & Gaston R.

Co. v. Reid, 80 U.S. (13 Wall.) 269, 270 (1872))).

       As Justice Jackson noted in his famous concurrence in Youngstown Steel, where “the

President takes measures incompatible with the expressed or implied will of Congress, his power

is at its lowest ebb, for then he can rely only upon his own constitutional powers minus any

constitutional powers of Congress over the matter.” Youngstown Steel, 343 U.S. at 637. Here,

because the President has no power to repeal or amend statutes unilaterally, his actions are ultra

vires, and the Court has the authority to enjoin them under its longstanding equitable powers. See

Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015) (“The ability to sue to

enjoin unconstitutional actions by state and federal officers is the creation of courts of equity,

and reflects a long history of judicial review of illegal executive action, tracing back to

England.”).

       Defendants’ argument that a president’s “broad authority to attend to the foreign affairs

of the nation,” Defs. Resp. Br. at 23, authorizes him to ignore separation of powers mirrors

President Truman’s in Youngstown Steel and fails for the same reason. The Supreme Court there

struck down President Truman’s executive order seizing certain strike-bound steel mills during

wartime, noting that Congress had not authorized this presidential action and had in fact created

multiple statutory paths to seizing the mills, none of which President Truman had taken.

Youngstown Steel, 343 U.S. at 585. Much like Defendants’ arguments here, President Truman

justified his actions under “the several constitutional provisions that grant executive power to the



                                                 12
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 19 of 36




President.” Id. at 585. The Court disagreed: “The Founders of this Nation entrusted the law

making power to the Congress alone in both good and bad times. It would do no good to recall

the historical events, the fears of power and the hopes for freedom that lay behind their choice.”

Id. at 589. Here too, absent Congressional authority, and in fact in the face of contrary statutory

commands, President Trump cannot sustain his actions through a mere reference to his authority

over foreign affairs.

       Moreover, the President’s foreign affairs authority has little bearing on this case. The

Appropriations Act of 2024 established a mechanism for the President to consult with Congress

if he believes that changes to USAID’s structure are necessary. And, “whether the realm is

foreign or domestic, it is still the Legislative Branch, not the Executive Branch, that makes the

law.” Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 21 (2015); see Medellin v. Texas, 552

U.S. 491 (2008) (refusing President’s argument that his authority over foreign affairs allows him

to bypass Congressional action).

                   2. Defendants have violated the Take Care Clause by refusing to
                        implement FSRRA.

       To the extent that Defendants seek to narrow this case to involve only a refusal to issue

payments or allow staff to carry out their roles, those actions alone violate the Take Care Clause

of the Constitution, which confers upon the President the duty to “take care that the Laws be

faithfully executed.” U.S. Const., art. II § 3. As the Supreme Court has stated, “[t]o contend that

the obligation imposed on the President to see the laws faithfully executed, implies a power to

forbid their execution, is a novel construction of the constitution, and entirely inadmissible.”

Kendall, 37 U.S. at 613.

       Contrary to Defendants’ insinuation, such claims are justiciable. See Crowley Caribbean

Transp., Inc. v. Pena, 37 F.3d 671, 676 (D.C. Cir. 1994) (“general enforcement policies” that
                                                 13
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 20 of 36




could show that the agency has abdicated its duty to faithfully execute the law may be subject to

review); see also United States v. Texas, 577 U.S. 1101 (2016) (asking parties to brief potential

violations of the Take Care Clause); Free Enter. Fund v. Public Co. Accounting Oversight Bd.,

561 U.S. 477, 491 n.2 (2010) (collecting cases regarding implied private rights of action for

violations of structural safeguards in the Constitution); Citizens for Resp. & Ethics in

Washington v. Trump, 302 F. Supp. 3d 127, 139 (D.D.C. 2018) (recognizing the potential vitality

of Take Care Clause claims); Florida v. United States, No. 3:21CV1066-TKW-EMT, 2022 WL

2431414, at *13 (N.D. Fla. May 4, 2022) (“the Court sees no reason why such a claim could not

be pursued at least in circumstances where (as alleged here) the executive branch has completely

abdicated its responsibility to enforce the law as written”); Associated Gen. Contractors of Am.

v. U.S. Dep't of Lab., No. 5:23-CV-0272-C, 2024 WL 3635540, at *13 (N.D. Tex. June 24, 2024)

(“Defendants engaged in egregious violations of Article II, section 3 of the Constitution, because

rather than taking care to faithfully execute the DBA, Defendants instead usurped Congress’ law-

making power and attempted substantive amendments to the DBA.”).

       To be clear, Plaintiffs are not asking this Court to direct Defendants how to take care of

the law or to, in Defendants’ words “advance their own political and policy views.” Defs. Resp.

Br. at 28.22 Plaintiffs are instead asking the Court to direct Defendants to carry out required non-

discretionary actions under federal law and to faithfully “take care” to carry out their pre-existing




22
   Defendants make a puzzling argument that only the President can violate the Take Care Clause
and not subordinate executive branch officials due to the Clause speaking only of the President.
See Defs. Resp. Br. at 27. Yet the authority of every executive branch official derives from the
President’s powers and responsibilities under Article II of the Constitution. Indeed, much of
modern Appointments Clause jurisprudence is built on ensuring that executive officers are
accountable to the President in order to ensure the President can “take care” that the laws are
faithfully executed. Morrison v. Olson, 487 U.S. 654, 689 (1988). None of the cases cited by
Defendants suggest anything to the contrary. Cf. Defs. Resp. Br. at 27-28.
                                                 14
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 21 of 36




obligations. Ruling for Plaintiffs would not require the Court to direct USAID to fund

rehydration salts to treat diarrhea in Zambia for the foreseeable future, as Defendants suggest.

See Defs. Resp. Br. at 28. Rather, Plaintiffs ask this Court to enjoin Defendants from illegally

stopping provision of that and all other USAID work without consideration of constitutional

requirements.

       Defendants’ reliance on Dalton v. Specter, 511 U.S. 462 (1994), Defs. Resp. Br. at 23, is

unavailing. In Dalton, the Supreme Court made explicit that claims about the President acting

without statutory authority are subject to constitutional review, but claims about the President

abusing discretion granted to him by statute are not. See Dalton, 511 U.S. at 477 (“Where a

statute, such as the 1990 Act, commits decisionmaking to the discretion of the President, judicial

review of the President's decision is not available.”). And as the D.C. Circuit has recently held,

non-statutory ultra vires review is available even where some discretion is granted to the

President by statute. Am. Forest Res. Council v. United States, 77 F.4th 787 (D.C. Cir. 2023).

“Dalton’s holding merely stands for the proposition that when a statute entrusts a discrete

specific decision to the President and contains no limitations on the President's exercise of that

authority, judicial review of an abuse of discretion claim is not available.” Chamber of Com. of

U.S. v. Reich, 74 F.3d 1322, 1331 (D.C. Cir. 1996).

       Here, where the President has acted contrary to the Constitution and statute, and not

within any discretion granted to him, this Court has the authority to hold him to account. See

Marbury v. Madison, 5 U.S. 137, 166 (1803) (where the legislature imposes on an executive

officer “direct[ions] peremptorily to perform certain acts; when the rights of individuals are

dependent on the performance of those acts; he is so far the officer of the law; is amenable to the

laws for his conduct; and cannot at his discretion sport away the vested rights of others”).



                                                 15
      Case 1:25-cv-00352-CJN          Document 25        Filed 02/11/25      Page 22 of 36




               C. Agency Defendants’ decision to shut down USAID is arbitrary,
                   capricious, an abuse of discretion, or otherwise not in accordance with
                   law.

       For the reasons set forth in Plaintiffs’ TRO brief (at 12–17), Plaintiffs’ APA claims are

likely to succeed on the merits. Defendants offer a string of arguments to the contrary; none is

compelling.

       First, Plaintiffs do challenge agency action. As Defendants acknowledge, Defs. Resp. Br.

at 4, 6–7, 19, 34, 37 (identifying various actions taken by Defendant Rubio or USAID),

Defendant Rubio, in his capacity as Acting Administrator of USAID and/or Secretary of State, or

“USAID leadership” under Defendant Rubio, have taken the steps to dismantle USAID. See

Compl. ¶¶ 20–22, 29–30, 33, 36–38 (alleging numerous actions by agency defendants or

officials). Plaintiffs do not allege an APA claim against President Trump.

       Defendants cite two cases in support of their argument that Plaintiffs “effectively seek[]

review of the President’s action by suing an agency acting on behalf of the President.” Defs.

Resp. Br. at 29. These cases are inapposite. The cases explain that an APA action does not lie

where an agency exercises “discretionary authority committed to the President by law,” that has

been directly delegated by the President to an agency. Detroit Int'l Bridge Co. v. Gov’t of

Canada, 189 F. Supp. 3d 85, 100 (D.D.C. 2016). As explained in detail in Plaintiffs’ TRO Brief,

and supra, the steps taken to effectuate a dissolution or substantial diminishment of USAID are

not within the President’s lawful discretionary authority. Nor may the agency defendants

reorganize or restructure USAID in violation of the Appropriations Act.

       Defendants suggest that the action challenged here is not sufficiently “discrete.” Defs.

Resp. Br. 30; see Norton v. S. Utah Wilderness All., 542 U.S. 55, 62 (2004). That the action

challenged here–dismantling an agency established by statute–requires numerous actions to

                                                16
        Case 1:25-cv-00352-CJN           Document 25       Filed 02/11/25      Page 23 of 36




effectuate does not mean that the case does not challenge a discrete action within the meaning of

the case law. See Ipsen Biopharmaceuticals, Inc. v. Azar, 943 F.3d 953, 956 (D.C. Cir. 2019) (a

“not self-executing” order that required “separate enforcement action” to effectuate was final

agency action). Further, agency defendants implemented their decision to dissolve or

substantially diminish USAID through discrete, identifiable actions—e.g., closing USAID

headquarters, placing staff on administrative leave en masse, canceling contracts en masse,

refusing to pay contractors’ invoices for work performed23—actions that, again, the agency or

agency official defendants undisputedly took. Indeed, to characterize abruptly placing nearly

90% of an agency’s staff on administrative leave, evacuating all staff in foreign countries,

closing down agency headquarters, and canceling agency contracts en masse as “day-to-day”

operations of an agency, Defs. Resp. Br. at 30, is absurd. And Defendants are plainly wrong to

suggest that Plaintiffs quibble with particular decisions concerning particular agency programs.

See Defs. Resp. Br. 31. Plaintiffs challenge the wholesale gutting of agency programs and

personnel committed in violation of law.

          Second, Plaintiffs challenge final agency action. As Plaintiffs explained in their opening

brief, the decision to gut USAID both “mark[s] the consummation of the agency’s

decisionmaking process” and is “one by which rights or obligations have been determined, or

from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 178 (1997) (citations

omitted). See TRO Br. at 12-13. Defendants attempt to paint their actions as a mere “pause of

operations.” Defs. Resp. Br. 31. But their actions—attempting to place 90% of agency staff on

leave, canceling contracts, giving up the lease, and moving all oversees staff to the United




23
     See Further Decl. of Randall Chester; Decls. of Thomasina, Virginia, Walter, Xavier Doe.
                                                  17
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 24 of 36




States—belie that description, as does President Trump’s statement that the agency is being

“close[d] down.” Supra note 8. Reflecting that objective, the actions are not ones that can readily

be undone after a “pause.”24 Overseas staff are being told to uproot their families. Contractors

working with USAID after running the hoops of the procurement process will no longer have

USAID contracts to fulfill. Grantees that rely on USAID funding may have shut down. See, e.g.,

Decl. of Ulysses Doe. And in any event, the decision to dismantle an agency, currently being

effectuated, qualifies as final even if the agency could change its mind later. As the Supreme

Court has explained, “[t]he mere possibility that an agency might reconsider . . . does not suffice

to make an otherwise final agency action nonfinal,” Sackett v. EPA, 566 U.S. 120, 127 (2012);

see Nat’l Env’t Dev. Ass’n’s. Clean Air Project v. EPA, 752 F.3d 999, 1006 (D.C. Cir. 2014)

(“An agency action may be final even if the agency’s position is ‘subject to change’ in the

future.”); U.S. Air Tour Ass’n v. F.A.A., 298 F.3d 997, 1013 (D.C. Cir. 2002) (“[I]f the

possibility of future revision in fact could make agency action non-final as a matter of law, then

it would be hard to imagine when any agency rule would ever be final as a matter of law.”

(quotation omitted) (cleaned up)).

       Additionally, “[i]n assessing whether a particular agency action qualifies as final for

purposes of judicial review,” courts, including the Supreme Court, “have looked to the way in

which the agency subsequently treats the challenged action.” Sw. Airlines Co. v. U.S. Dep’t of




24
   See, e.g., Decl. of Olivia Doe (explaining that, as a result of Defendants’ actions, the US will
likely lose much of its share of contracts to purchase critical minerals mined in Africa like cobalt
to China); Report of Office of Inspector General (explaining disastrous consequences of the
USAID shutdown to US national interests and security); Thalia Beaty, Volunteers are now
tracking what’s already been lost in the USAID freeze, AP News (Feb. 10, 2025)
https://apnews.com/article/usaid-foreign-aid-freeze-international-development-
325c807f4f3930adbaa5c42dfef69c69#; see also Decls. of Marcus, Nathan, Nancy, Sarah, and
Wanda Doe.
                                                 18
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25      Page 25 of 36




Transp., 832 F.3d 270, 275 (D.C. Cir. 2016). At the very least, Defendant Rubio announced an

intent to, as he phrased it, “reorganiz[e]” Ex. C to Decl. of Peter Marocco (Feb. 10, 2025), ECF

No. 20-1, and has clearly been implementing that “reorganization” in his capacities as Acting

Administrator of USAID and Secretary of State. The actions Defendants have taken toward

shutting down USAID operations have, in fact, effectuated a near-total shutdown of USAID

operations, as evidenced by the declarations of numerous USAID staff. Finally, that the decision

to dissolve USAID and the actions taken in pursuit of that goal derive from top agency officials,

not agency staff, is further indication that the decision to dismantle USAID is a final one. Cf.

Soundboard Ass’n v. FTC, 888 F.3d 1261, 1268 (D.C. Cir. 2018) (letter that expressed the

“views of ‘staff’ and not the Commission was not final agency action); Reliable Automatic

Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 733 (D.C. Cir. 2003) (no final

agency action where “the Commission itself has never considered the issue”).25

       Third, Defendants’ argument that review under the APA is not available because

Plaintiffs have other avenues of relief, Defs. Resp. Br. 32–33, is incorrect. For the reasons stated

supra, the channels Defendants propose are inappropriate to resolve Plaintiffs’ constitutional and

statutory challenge to Defendants’ decision to dismantle USAID.

       Fourth, Defendants offer no compelling argument that the actions they have taken to

dismantle USAID are consistent with their statutory authority. Defs. Resp. Br. 33–35. They first

contend that the Foreign Affairs Reform and Restructuring Act of 1998 (FARRA) does not

prevent them from dismantling USAID because USAID is located within the Executive Branch.

But it is an agency established by statute. As discussed above, the mantra “Executive” authority




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  Even were the Court to agree that there is no final agency action, Defendants took actions that
exceeded their statutory authority and that violated statutes, and which are therefore ultra vires.
                                                 19
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25       Page 26 of 36




is not a basis for defying the law. And FARRA, 22 U.S.C. § 6563, requires that USAID,

“[u]nless abolished” pursuant to a 1998 presidential reorganization plan, id. § 6601 (which did

not occur), continue to exist—and not in name alone. Allowing Defendants to dismantle the

agency as they are doing would render the statute nugatory.

       Likewise, Defendants’ dismantling of USAID is in defiance of the Further Consolidated

Appropriations Act, 2024, Pub. L. No. 118-47 § 7063(a), 138 Stat. 460 (2024). See TRO Br. at

13–15. Defendants agree that the Appropriations Act permits only “reorganization”—it does not

supersede FARRA—and only “under certain circumstances.” Defs. Resp. Br. 34. Those

circumstances are not present here. By their own account of the facts, Defendants have not

complied with the Appropriations Act. Defendant Rubio’s February 3, 2025, letter to members of

the Committees on Appropriations and Foreign Affairs and Foreign Relations, Decl. of Peter

Marocco, Ex. C, ECF No. 20-1, does not satisfy the statutory prerequisites to implementing a

reorganization of USAID—let alone one so extreme as to constitute an effective dismantling of

the agency.

       First, Defendant Rubio’s letter does not describe a “proposed action,” as required by the

statute. Appropriations Act § 7063(a). Rather, the notice states that the agency is “begin[ning]

the process of engaging in a review and potential reorganization of USAID’s activities.” Decl. of

Peter Marocco, Ex. C, ECF No. 20-1. In other words, the notice announces an intent to formulate

a reorganization plan; it does not describe any actual reorganization plan. Second, the letter does

not include a “detailed justification” for a proposed plan. Appropriations Act § 7063(a). The

letter includes a few sentences supporting Defendant Rubio’s perceived need to formulate some

sort of reorganization plan, but provides no justification for the extreme measures Defendants

have taken, let alone “detailed” ones. Third, the letter does not constitute “prior consultation,” as



                                                 20
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25     Page 27 of 36




the Appropriations Act requires. Id. Instead, the letter merely “advises [Congress] of our intent to

initiate consultations” about a reorganization of USAID. Decl. of Peter Marocco, Ex. C, ECF

No. 20-1 (emphases added). Finally, as Plaintiffs explained in their TRO Brief (at 13-15), the

Appropriations Act does not give Defendants authority to pursue a “reorganization” so extreme

that it effectively dissolves or dismantles USAID, as FARRA would not countenance that.26

       Furthermore, whether Defendants complied with the Appropriations Act is not a political

question. See Defs. Resp. Br. 35. This Court certainly has jurisdiction to decide whether agency

officials violated a validly enacted statute. See Marbury, 5 U.S. at 177.

       Fifth, Defendants’ actions are contrary to law. Defendants contend the statutory

limitation on the number of days that agencies may place employees on administrative leave, 5

U.S.C. § 6329a(b)(1), does not apply to the placement, or intended placement, of nearly 90% of

USAID staff on leave because they seek to put staff on leave in furtherance of a decision by the

President, who is “acting through executive branch agencies,” and that he has “inherent Article II

authority.” Defs. Resp. Br. 35. Defendants cite no legal support for the proposition that Article II

permits the President to place 90% of an agency’s employees on leave, and to direct the

dissolution of a federal agency, in violation of a duly enacted statute.

       Defendants’ argument that they have not violated the Prompt Payment Act, 31 U.S.C. §

3901 et seq., relies on an incomplete understanding of the facts. Defendants have not been

canceling only those contracts that they have “determined to no longer be in the national




26
  Defendants have also violated § 514(a) of the Appropriations Act, which prohibits the use of
funds appropriated under the Act to “eliminate[] a program, project, or activity”; “relocate[] an
office or employees”; “reorganize[] or rename[] offices”—note Defendants covered up the name
of USAID’s office at its headquarters; or “reorganize[] programs or activities” without first
consulting the congressional Committees on Appropriations 15 days prior, and notifying them in
writing 10 days prior, to performing those actions.
                                                 21
      Case 1:25-cv-00352-CJN           Document 25        Filed 02/11/25     Page 28 of 36




interest.” Defs. Resp. Br. 36. Rather than making individualized determinations, they have been

canceling contracts en masse, inconsistent with the FAR, and in ways that jeopardize the nation’s

interests and security. See Decls. of Thomasina, Virginia, Walter, and Zeb Doe; USAID OIG

Report at 3–4. Additionally, Defendants have stopped paying the government’s obligations on

existing contracts, even those obligations incurred prior to January 24. See id.

       Sixth, Defendants acted arbitrarily and capriciously in taking actions to dismantle

USAID. Defendants rely on the Declaration of Pete Marocco to establish the basis for their

actions. Specifically, Mr. Marocco claims that after he assumed management of day-to-day

operations of USAID on January 30, he found that a set of senior agency staff were “unwilling or

unable to provide [him] basic compliance and oversight information,” raising “systemic

concerns” about the agency and leading him to conclude that a “blanket pause with a waive-in

process was the more efficient and effective path” to resolving these concerns. Decl. of Peter

Marocco, ¶¶ 5-8, 11, ECF No. 20-1. But numerous USAID staff credibly contest this assertion of

insubordination. See Further Decl. of R. Chester; Decl. of Yolanda Doe. And USAID staff

explain that comprehensive reviews of USAID programs are possible and have previously been

conducted without shutting down the agency. Decl. of Zeb Doe.

       Mr. Marocco claims that “USAID did not intentionally place any employee in a high-risk

location on administrative leave.” Decl. of Peter Marocco, ¶13, ECF No. 20-1. Intentionally or

not, many such employees were in fact placed on leave and abruptly cut off from agency

computer systems and intelligence information. That Defendants’ actions risked American lives

is not hypothetical. On January 28, violent protests aimed at western embassies and diplomatic

installations broke out in Kinshasa in the Democratic Republic of the Congo. Decl. of Nathan

Doe. As protestors grew to the thousands, the USAID Mission Director and his wife were



                                                22
      Case 1:25-cv-00352-CJN           Document 25         Filed 02/11/25      Page 29 of 36




“trapped in their residence as tens of looters breached their residence.” Decl. of Olivia Doe ¶4.

They and others were eventually able to evacuate back to Washington, DC, but USAID

employees have been forced by the funding freeze to cover substantial out-of-pocket costs for

accommodation, food, clothes, and other necessities. See, e.g., Decl. of Ruth Doe.

       For these and the reasons addressed in Plaintiffs’ opening brief (at 15-17), Defendants’

actions to dismantle USAID were arbitrary and capricious.

       III. WITHOUT A TEMPORARY RESTRAINING ORDER, PLAINTIFFS, THEIR
           MEMBERS, AND COUNTLESS OTHERS WILL BE IRREPARABLY
           HARMED.

       Defendants’ attempt to neutralize the irreparable harm found by this Court through a

series of post hoc rationalizations. First, they suggest that expedited recalls will not cause

irreparable harm to Plaintiffs’ members and their families because USAID will grant “case-by-

case exceptions and offer extensions, including ‘timing of dependents’ school term, personal or

familial medical needs, pregnancy, and other reasons.” Defs. Resp. Br. 38. But USAID’s

purported willingness to consider exemptions does not mean employees will receive them.

Meanwhile, AFSA employees overseas are “being encouraged to fill out paperwork to evacuate

to the United States,” despite the temporary restraining order. Further Decl. of R. Chester 34.

One AFSA member, who is both pregnant and has high school children, was already informed

that she would not receive an exception. Pls. TRO Br., Ex. D (Feb. 7, 2025), ECF No. 9-4. She is

now left “urgently searching” for schools that can admit her three children, all of whom are on

Individual Education Plans and require special accommodations. Id. ¶¶ 5, 7. Moreover, one of

her children had a previous mental health breakdown caused by the multiple transitions the child

has experienced; “the mental health and counseling team that cared for them recommended that

they stay at post until they can graduate to provide stability.” Id. ¶7. Other pregnant USAID

                                                 23
      Case 1:25-cv-00352-CJN            Document 25        Filed 02/11/25       Page 30 of 36




employees, who have medical evacuations for pregnancy, have been told those medical

evacuations will be cancelled, Decl. of Wanda Doe ¶¶ 5-6, or that their posts will be cut short

when evacuated. Decl. of Sarah Doe ¶5. Plaintiffs’ members’ harm is therefore sufficiently

“certain” to qualify for preliminary injunctive relief. See League of Women Voters of U.S. v.

Newby, 838 F.3d 1, 8–9 (D.C. Cir. 2016) (recognizing that “Damocles’s sword does not have to

actually fall on all appellants before the court will issue an injunction.”).

       Defendants nonetheless contend that employees will not experience irreparable harm

because their administrative leave will be paid. Defs. Resp. Br. 38. This contention ignores the

serious safety risks to employees overseas if they are placed on administrative leave. Defendants’

suggestion that they have “no plan” that any USAID employee “at a high-risk post” who remains

overseas during administrative leave will “be shut out from access to overseas security

resources,” Defs. Resp. Br. 39, does not resolve this harm. Defendants suggest these protections

will be available only to the employees at certain posts, leaving an unknown set of USAID

employees vulnerable. Defendants also acknowledge that placement on administrative leave

means that staff will lose access to “some” USAID systems. Id. USAID’s Chief Information

Officer clarified that employees placed on paid administrative leave prior to the Court’s entry of

a temporary restraining order lost access to their email accounts, “information and contracting

databases, and their “Agency-owned devices (e.g. their mobile phones and laptops).” Defs. Resp.

Mot. for Hearing ¶ 4 (Feb. 11, 2025); Decl. of Jason Gray, (Feb. 11, 2025), ECF No. 22-1.

Without access to those systems, USAID employees cannot access vital safety resources. Access

to email remains critical for safety warnings. USAID employees stationed overseas access

security information through their email, including “warnings on local issues such as protests or

security advisories.” Ex. H, Decl. of Frances Doe, ¶ 8, ECF No. 9-9. Access to agency issued



                                                  24
      Case 1:25-cv-00352-CJN          Document 25        Filed 02/11/25      Page 31 of 36




devices is critical for access to the Scry Panic safety app. Ex. I, Decl. of Jane Doe, ¶ 4, ECF No.

9-10. Indeed, employees had already begun to lose access to some security systems after the

recall notice was issued, see Ex A., Decl. of R. Chester, ¶ 18, ECF No. 9-2; ECF No. 9-10 ¶¶ 13-

14. The experience of USAID employees assigned to the Democratic Republic of the Congo in

Kinshasa just last month demonstrate the risks faced by foreign services officers and the

importance of the security apparatus See Decl. of Marcus Doe ¶¶ 9-11; Decl. of Olivia Doe ¶¶ 4-

5.

       In addition, the funding freeze will irreparably harm Plaintiffs’ members who are

responsible for carrying out an unlawful agency action. USAID employees are being directed to

modify or terminate contracts, although such terminations may be unlawful. See Decl. of

Virginia Doe ¶ 9; Decl. of Thomasina Doe ¶¶ 8-9. Terminating agreements unlawfully risks

destabilizing relationships with USAID’s partners, harming and undermining the decades of

established aid provided to developing countries. See Decl. of Ruth Doe ¶ 6; see also Complaint

¶¶ 23, 39 (Feb. 6, 2025), ECF No. 1. These harm to goodwill and relationships of staff who work

in this field constitutes irreparable harm. Cf. Endo Par Innovation Co., LLC v. Becerra, No. CV

24-999, 2024 WL 2988904, at *8 (D.D.C. June 10, 2024) (finding loss of goodwill with

customers irreparable harm).

       AFGE and AFSA likewise will experience irreparable harm flowing from Defendants

unlawful actions to dissolve USAID. Obstacles that “make it more difficult for [Plaintiffs] to

accomplish their primary mission” are sufficient to demonstrate irreparable harm. League of

Women Voters of the United Stes v. Newby, 838 F.3d 1, 75 (D.C. Cir. 2016). AFGE and AFSA

both anticipate diverting significant resources from other members and priorities to address the

shut down. Ex. B, Decl of Ottis Johnson Jr., ¶ 7, ECF No. 9-3; Decl. of R. Chester ¶ 24. AFSA



                                                25
      Case 1:25-cv-00352-CJN           Document 25         Filed 02/11/25      Page 32 of 36




has already begun to do so, receiving between 200-300 emails a day from members with

inquiries about USAID, holding multiple townhalls with employees, and updating its

membership records to include private email addresses. Decl. of R. Chester ¶¶ 22-24.

       IV. THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST WEIGH IN
           PLAINTIFFS’ FAVOR.

       Defendants incorrectly assess the balance of the equities, which should tip in favor of

Plaintiffs. Invoking their oft-repeated theme, Defendants posit that the “public has an interest in

permitting the President to take decisive action when it comes to foreign affairs,” and that

injunctive relief “would displace and frustrate the President’s decision about how to best address

[the] threat to foreign affairs” allegedly posed by USAID. Defs. Resp. Br. at 40–41. This may be

so if the President were acting lawfully. Yet here, “[t]o the contrary, there is a substantial public

interest in having governmental agencies abide by the federal laws[.]” Open Cmtys. All. v.

Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017) (internal quotation marks and citations

omitted). This holds true even if Defendant Trump believes circumventing the law is “how to

best address” his concerns.

       Defendants further argue the “Court must give deference,” Defs. Resp. Br. 40, based on

the Executive Branch’s “evaluation of the facts” and the “sensitive and weighty interest of

national security and foreign affairs,” Holder v. Humanitarian L. Project, 561 U.S. 1, 33–34

(2010), including “the timing of those [] decisions,” Holy Land Found. for Relief & Dev. v.

Ashcroft, 219 F. Supp. 2d 57, 74 n.28 (D.D.C. 2002), aff’d, 333 F.3d 156 (D.C. Cir. 2003). But

“concerns of national security and foreign relations do not warrant abdication of the judicial

role,” and when such “sensitive interests” are at stake, “the political branches [must] adequately

substantiate[] their determination.” Holder, 561 U.S. at 33. Broad, vague allegations of fraud and

waste, without corresponding substance, cannot allow for deference.
                                                 26
      Case 1:25-cv-00352-CJN            Document 25        Filed 02/11/25      Page 33 of 36




       Defendants also complain that they are “are acting this quickly and decisively to gain

control of an organization that included some employees who had refused to comply with lawful

directives by the President and Secretary, directives designed to identify wasteful or fraudulent

programs or those contrary to the foreign policy interests of the United States.” Defs. Resp. Br. at

41, citing Decl. of Marocco ¶ 9. But Plaintiffs report that in the face of this chaotic action,

complying with directives has proven difficult if not impossible along the way, despite their

attempts for further clarification or information on Defendants’ processes. See Further Decl. of

R. Chester ¶¶ 7–8, 12, 26, 28 (describing uncertainty despite pleas for clarification and

information); Decl. of Walter Doe ¶¶ 4–12; Decl. of Xavier Doe ¶¶ 6–9; Decl. of Thomasina Doe

¶¶ 4–9; Decl. of Marcus Doe ¶¶ 4–5, 7, 10.

       Moreover, Defendant’s actions are in fact creating a national security crisis. See generally

USAID OIG Report (reporting on the “risks and challenges to the safeguarding and distribution

of USAID’s $8.2 billion in obligated but undisbursed humanitarian assistance funds following

(1) the Department of State’s pause on foreign assistance programs and (2) subsequent personnel

actions by USAID that have substantially reduced the operational capacity of its Bureau of

Humanitarian Assistance (BHA)”). As a direct result of Defendants’ actions, two of USAID’s

key oversight mechanisms, partner vetting and third party monitoring, have been undermined,

compromising USAID’s ability to ensure no money flows to terrorist organizations and to

monitor high-risk environments abroad. Id. at 3–4 (listing programs in Afghanistan, Iraq,

Lebanon, Pakistan, Syria, West Bank/Gaza, and Yemen that require oversight for anti-terrorist

vetting and high-risk environments in Ukraine, Afghanistan, Ethiopia, Haiti, Gaza, Iraq,

Lebanon, Somalia, Syria, and Venezuela that require third party monitoring for successful aid

programs). Furthermore, Defendants’ interruptions in USAID’s workforce have also constrained



                                                  27
      Case 1:25-cv-00352-CJN            Document 25         Filed 02/11/25       Page 34 of 36




their ability to receive, react, report, and respond to allegations of fraud, waste, abuse, or

diversion of humanitarian aid, as required by Congress. Id. at 4–5. Thus, the very risks

Defendants allege to care for are put in a place of real threat through their actions.

       In addition, approximately $8.2 billion in undisbursed obligations for humanitarian

assistance programs have been unable to flow; $489 million in food assistance is at risk of

diversion and spoilage. Id. at 2–3; see also Decl. of Ruth Doe ¶ 6 (describing patients awaiting

treatment typically provided by USAID). These gaps in USAID’s functioning have allowed for

other countries to move in to replace the critical assistance that other countries have gratefully

relied upon in the past, with countries including Nepal, The Cook Islands, and Colombia already

reporting that the Chinese government has expressed interest in moving in upon USAID’s

withdrawal. See Robbie Gramer et al., As USAID retreats, China pounces, Politico (Feb. 10,

2025), https://tinyurl.com/4vtyarbh; see also, e.g., Decl. of Olivia Doe ¶¶ 3, 7(2) (describing

USAID’s efforts to decrease DRC’s dependence on cobalt trade with China, and Defendants’

shutdown leaving these developments in jeopardy). These real national security concerns weigh

towards granting Plaintiffs the injunctive relief they seek.

                                              CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court enter a

preliminary injunction enjoining Defendants immediately from taking any further actions to shut

down USAID operations and requiring Defendants immediately to take the remedial measures

outlined in the Proposed Order until further order of this Court.



 Dated: February 11, 2025                              Respectfully submitted,

 /s/ Lauren Bateman                                /s/ Kaitlyn Golden
 Lauren Bateman                                    Kaitlyn Golden

                                                  28
     Case 1:25-cv-00352-CJN       Document 25   Filed 02/11/25     Page 35 of 36




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                                         29
      Case 1:25-cv-00352-CJN           Document 25           Filed 02/11/25   Page 36 of 36




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be sent to those indicated as non-registered participants.



       Dated: February 11, 2025                                       /s/ Kaitlyn Golden
